        Case 2:18-mj-02518-DUTY Document 3 Filed 10/10/18 Page 1 of 3 Page ID #:163
    • Case 2:18-mj-02518-DUTY *SEALED* Document 1-1 *SEALED* Filed 09/tl.J:is '-Page 1 ofJll
                                         Paae ID #:71
     AO 93 (Rev. 12/09) Search and Seizure Warrant (USAO COCA Rev. 01/2011)



                                         UNITED STATES DISTRICT COURT
                                                                          for the
                                                              Central District of California


                        In the Matter of the Search of                         )
                   (Briefly describe the property to be searched               )
                    or identify the person by name and address)                ) Case No. 2:18-MJ-02518
     SAFETY DEPOSIT BOX NUMBER 751, located at Chase                           )
        Bank, 270 S. State College Blvd ., Brea, CA 92821                      )
                                                                               )

                                                SEARCH AND SEIZURE WARRANT
     To:       Any authorized law enforcement officer

               An application by a federal law enforcement officer or an attorney for the government requests the search
     of the following person or property located in the                       Central    District of   _ C
                                                                                                         = al"if=
                                                                                                               "o rn
                                                                                                                  '"'"'-"ia= - - - - - -
     (idemify the person or describe the property to be searched and give its location):
           See Attachment A

               The person or property to be searched, described above, is believed to conceal (identify the person or describe the
     property lo be sei=ed):
           See Attachment B


             I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
     property.

               YOU ARE COMMANDED to execute this warrant on or before                           14 days from the date of its issuance
                                                                                                             (not to exceed 14 days)
            2f in the daytime    6:00 a.m. to I 0 p.m.             0 at any time in the day or night as I find reasonable cause has been
                                                                      established.

             Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
     taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
     place where the property was taken.
             The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
    inventory as required by law and promptly return this warrant and inventory to Un i t~d States t:r1!1-~~,)J,Ldge
    on duty at the time of the return through a filing with the Clerk~ OfTica'" ~ "!~""X "'74 ' !.- c..'-.. · · ... • ··• ·
                                     (name)
                                                                                          - -' .....
           0 I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
     of trial), and authorize the officer executing this warrant to delay notice to the person who. or whose property, will be
     searched or seized (check the appropriate box) 0 for             daJ81Yot to exceed 30).                :•.

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     City and state:       Los Angeles, California                                     Hon. Patrick J. Walsh, Chief Magistrate Judge
                                                                                                     Printed name and title



AUSA: Andrew Brown , 11th Floor, x0102
            Case 2:18-mj-02518-DUTY Document 3 Filed 10/10/18 Page 2 of 3 Page ID #:164
    . Case 2:18-mj-02518-DUTY *SEALED* Document 1-1 *SEALED*     Filed 09/21118 Page 2 of 11
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     AO 93 (Rev. 12109) Search and Seizure Warrant (Page 2)

                                                                    Return
     Case No.:                             Date and timf warrant executed:         rnnv ofwarrant and inventory left with:
      2: 18-MJ-Of 518                              <f(1.,,1fl$   fo~1o              Lros       ~"1~ R../v-ere..         c,~6      'R"-'J.t
                                                                                                    I               f
     Inventory made in the presence of:
                9-,,/;u~~o ~I
     Inventory ofthe property taken and name ofany person(s) seized:
     (Please provide a description that would be sufficient to demonstrate that the items seiz.ed fall within the items authorized to be
     seized pursuant to the warrant (e.g., type of documents, as opposed to "miscellaneous documents") as well as the approximate
     volume of any documents seized (e.g., number of boxes). If reference is made to an attached description of property, specify the
     number of pages to the attachment and any case number appearing thereon.]




                                                                 Certification (by officer present during the execution of the warrant)


     I declare under penalty ofperjury that I am an officer who executed this warrant and that this inventory is correct and
     was returned along with the original warrant to the designated judge through a.filing with the Clerk's Office.




                                                                   ~~xef::;;:ojficer's                      signature




AUSA: Andrew Brown, 11th Floor, x0102
                             Case 2:18-mj-02518-DUTY Document 3 Filed 10/10/18 Page 3 of 3 Page ID #:165



         The following ls a list of items seind from Safety Deposit Box Number 751, located at Chase Bank, 270 5- State College Blvd.,
         Brea, CA 92821 on September 27, 2018 •t •pproximately 10:30 AM. Owners Ti Lu, ah Jf!rry Young. and Yu Hao Hung. aka
         Alex Young Wf!fe in custody at th<! time of seizure.


Item#   Type         Colle<ted On            Acaulstlon Event                                                                        Descrlot lon
                                                                                                                                     (U) One (1) Certificate of Natur•lization for Alex Young contained in one (1) non-addressed USPS malling
1827    General           9/27/2018 13:30    (U) Evidence Collected from Safety Deposit Box #75 1 at JP Morgan Chase Bank            envelope.
1826    Valuables         9/27/2018 13:30    (U) Evidence Collected from Safety Deposit Box #751 at JP Morgan Chase Bank             (U) Five (5) "Swiss 1 Kilo Fine Gold" Bars
1825    V•luables         9/27/201813:30     (U) Evidence Collected f rom Safety Deposit Box #751 •t JP Morgan Chase   Bank          (U) 97 gold colored coins. One (1) golddealer.com baa.
1824    Valuables         9/27/201813:30     (UI Evidence Collected from Safety Dejlosit Box #751 •t JP Morgan Chase   Bank          (U) One ( 1) brown colored bag. 116 gold colored coins
1823    V•luables         9/ 27/2018 13:30    U) Evidence Collected from Safety Deposit Box #751 at JP M organ Chase   Bank          (U) Six (6) one ounce gold colored coins. One (1) five gram gold colored coin.
1822    Valuables         9/27/201813 :30     UI Evidence Collected from Safety Deposit Box #7S1 at JP Morgan Chase    Bank          (U) One (1) gram of suspected gold. Brand name PAMP· Products Artistiques Metaux Precieux.
1B21    Valuables         9/27/2018 13:30     U) Evidence Collected from Safety Deposit Box #751 at JP Morgan Chase    Bank          (U) Six (6) large gold colored coins. one (1) yellow box. one (1) Manilla envelope.                     -
                                                                                                                                     (U) One (1) red cloth pouch with gold colored design. One (1) red container with two (2) gold colored
                                                                                                                                                                                                                                                ·-
1B20    Valuables         9/27/2018 13:30 (U) Evidence Collected from Safety Deposit Box #751 •t JP Morgan Chose 8•nk                bracelets. One (1) red container with green colored pendent.
1819    Valuables         9/27/2018 13:30 (U) Evidence Collected from Safety Deposit Box #751 at JP Morgan Chase Bani<               (U) Bank of America (U2400724) •nd Ameritrade (021912915) Checkbooks.
1818    Valuables         9/27/201813:30 (U) Evidence Collected from Safety Deposit Box #751 •t JP Morvan Chase Bank                 (U) USO Currency Totalling $98,900. 989 x $100's.
